                  UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF W ISCONSIN
___________________________________

UNITED STATES OF AMERICA,

                    Plaintiff,

               v.                                          Case No. 06-CR-41

KEVIN TAYLOR,

               Defendant.
___________________________________


                                       ORDER

      On August 1, 2006, United States Magistrate Judge W illiam E. Callahan, Jr.

issued a recommendation that this court deny Kevin Taylor’s (“Taylor”) motion to

suppress all items seized from 3118 N. 21st Street [Docket # 64], and grant Taylor’s

motion to suppress all items seized from 2024 E. Nash Street [Docket # 65]. Neither

party has filed a timely objection to the recommendation as required by 28 U.S.C.

§ 636(b)(1) and Local Rule 72.3.             Therefore, this court will adopt the

recommendation and deny the defendant’s motion to suppress all items seized from

3118 N. 21st Street, and grant the defendant’s motion to suppress all items seized

from 2024 E. Nash Street. See United States v. Edwards, 894 F. Supp. 340, 341

(E.D. W is. 1995) (holding that in the absence of timely filed objections to the

magistrate’s recommendation, a de novo review of issues is not required).

Accordingly,




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      IT IS ORDERED that Judge Callahan’s August 1, 2006 Recommendation that

Kevin Taylor’s motion to suppress be denied be and the same is hereby ADOPTED;

and

      IT IS FURTHER ORDERED that Kevin Taylor’s motion to suppress

[Docket #64] be and the same is hereby DENIED;

      IT IS FURTHER ORDERED that Kevin Taylor’s motion to suppress

[Docket #65] be and the same is hereby GRANTED.

      Dated at Milwaukee, W isconsin this 27th day of December, 2006.

                                              BY THE COURT:

                                               s/ J. P. Stadtmueller
                                              J. P. Stadtmueller
                                              U.S. District Judge




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